         Case 1:19-cr-00297-ELR-JSA Document 107 Filed 09/01/21 Page 1 of 26




                    IN THE UNITED STATES OF AMERICA
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

    UNITED STATES OF AMERICA, :

    v.                                    : CRIMINAL CASE NO.

    TODD CHRISLEY and                     : 1:19-CR-297-ELR-JSA

    JULIE CHRISLEY,                       :

                         Defendants.      :

         REPORT AND RECOMMENATION ON MOTIONS TO SUPPRESS
                EVIDENCE FROM WARRANTLESS SEARCH

          In March 2017, the Georgia Department of Revenue (“DOR”) forced its way

into a locked storage facility leased by the Chrisley Defendants (hereinafter,

“Defendants’”1) without a warrant. The DOR seized and searched through

financial records, and then later disclosed the contents of those records to the IRS

and FBI. The Court easily finds, and the Government concedes, that these actions

by the DOR violated the Defendants’ Fourth Amendment rights. Defendants thus

move to suppress the incriminating materials found therein. See Motions [36][41].

          Although the Government concedes that the DOR violated the Defendants’

Fourth Amendment rights, the Government contends that suppression should be

denied. The Government argues that the state civil investigators that it contends



1
 The third Defendant, Tarantino, is not a movant. Thus, the term “Defendants” as
used herein refers solely to the Chrisley Defendants.
                                          1
     Case 1:19-cr-00297-ELR-JSA Document 107 Filed 09/01/21 Page 2 of 26




were primarily in charge of the operation would not have been deterred by the

prospect of evidence being suppressed in this separate federal criminal case, and

that the purposes behind the exclusionary rule would not be served here.

      After a two-day evidentiary hearing, the Court finds, importantly, that the

federal personnel handling the instant case did not participate in any violations

themselves. Nevertheless, the remaining facts strongly support application of the

exclusionary rule. Whatever the immediate purposes of the search, the prospect of

a potential future criminal case was at least clearly foreseeable and within the

interests of the relevant DOR officials, which included DOR’s most senior

criminal investigative agents. Indeed, as the facts established in the hearing

showed, the line between criminal and civil within the DOR was substantially

blurred in this case. The Court thus finds that the prospect of suppression of

evidence would have deterred the officers involved in the search from violating

Defendants’ rights, or at least would deter reasonable officers in the future. The

exclusionary rule should apply, and the Court RECOMMENDS that the Motions

be GRANTED.

      I.     FACTS

      The instant motions relate to a search of a warehouse at a business referred

to as Printers and Parts, located in Duluth, Georgia, at which the Defendants were




                                          2
     Case 1:19-cr-00297-ELR-JSA Document 107 Filed 09/01/21 Page 3 of 26




leasing secured space to store personal items as of March 2017 (the

“Warehouse”).2

      The tax investigations by Georgia’s DOR began in approximately 2014. Josh

Waites, then the Director of DOR’s Office of Special Investigations (“OSI”),

learned that the Defendants, who were “Reality TV” celebrities, may have failed to

report income. He asked fellow DOR employee Katie Vancil to investigate. Tr.

[92] (“Tr. I”) at 81-82. OSI is the criminal investigative unit within the DOR,

whereas Vancil worked under the Compliance Division, which conducts civil tax

assessment, delinquency and collection functions. Tr. I at 74-76. Vancil has always

worked in a civil function at the DOR, whereas Waites was the chief criminal law

enforcement officer in charge of investigating violations of Georgia’s criminal

laws against tax evasion and related offenses. Waites has since been terminated by

DOR for unrelated misconduct.

      Vancil’s initial computer checks determined that Defendants were indeed

delinquent in their taxes, but Vancil otherwise suspended any further inquiry

because the pending bankruptcy case impacted DOR’s ability to recover. Id. at 83.


2
 The record includes substantial testimony and other evidence as to the
Defendants’ leasing of the Warehouse and the ways in which the materials stored
there by Defendants were kept secure. See Generally Tr. [92] (“Tr. I”) at 8-61. The
Court has considered the evidence on this point and finds that the Defendants have
established sufficient expectations of privacy vis-à-vis the Warehouse to seek
redress against alleged unconstitutional intrusions. The Court declines to discuss
this issue in more detail as the Government does not contest Defendants’ standing.
                                          3
     Case 1:19-cr-00297-ELR-JSA Document 107 Filed 09/01/21 Page 4 of 26




      Waites kept tabs on the matter, however, and in 2016 instructed Vancil to

recommence her inquiry upon the termination of the bankruptcy case. Id. at 84.

Vancil proceeded to engage in tasks such as subpoenaing bank records, gathering

information from the bankruptcy trustee, and analyzing Defendants’ financial

situation. Tr. I at 84-87. Through these efforts, Vancil determined that Defendants

were delinquent to the state to the tune of over $1 million. Tr. I at 158.

      Although Vancil’s role within DOR was solely on the civil tax collection

side, Waites and another OSI criminal investigator, LaShawn Wright, asked Vancil

for periodic updates. Tr. I at 130-131. Waites also participated in the Compliance

Division’s meetings about this investigation, including in December 2016 and

February 15, 2017. Id. at 85-87, 93-5. Indeed, Vancil believed that Waites was

taking an unusual interest in this case and at one point she complained to one of

her supervisors. Id. at Tr. 122-123. Vancil even felt like she was being used as a

“puppet” by Waites. Id. at 143. It was also apparently known within DOR, despite

the case purportedly being a civil matter, that Waites had a photograph of

Defendant Todd Chrisley on a dartboard in his (Waites’s) office. See id. at 201

      Vancil and several other employees and supervisors from the civil

enforcement side of DOR’s operations attended the February 2017 meeting,

including Staci Guest, an attorney who oversaw the Compliance and Audit

Divisions. Waites also attended. Among the topics discussed at the meeting was


                                           4
     Case 1:19-cr-00297-ELR-JSA Document 107 Filed 09/01/21 Page 5 of 26




whether OSI would formally open a criminal investigation into the Defendants.

Despite the clear and obvious interest from OSI and Waites, Guest answered that

question in the negative, stating that the inquiry “would remain a civil collection

case” and would not be a criminal case, at least at that time. Id. at 95-96, 233.

However, apparently unknown to at least Guest, Waites and another OSI officer

opened a criminal investigative file anyway in the days immediately after the

meeting. Id. at 140; Gov’t Exs. 200, 226.

      During this time, Waites and other OSI criminal investigators exerted

substantial direction over the purportedly civil tax collection investigation. A few

days after Guest declared that the matter would remain a civil one, Waites

participated in a witness interview in which he fed Vancil questions to ask the

witness. Id. at 153-155. Shortly thereafter, Waites also caused Vancil to request

information about Defendants’ finances from the U.S. Treasury Department’s

Financial Crimes Enforcement Network (“FinCen”). Id. at 140-1423. Waites

provided the FinCen form to Vancil and instructed her as to how to fill it out,

because she had never used this tool and was unfamiliar with it. Id. (Which is not



3
  FinCen was created in furtherance of Section 314(a) of the USA Patriot Act of
2001 (P.L. 107-56), and its implementing regulations, 31 CFR Part 1010.520. The
applicable provisions generally require financial institutions to search their records
and identify if they have responsive information in response to a request from a
law enforcement agency regarding a subject reasonably suspected based on
credible evidence, of engaging in terrorist acts or money laundering activities.
                                            5
     Case 1:19-cr-00297-ELR-JSA Document 107 Filed 09/01/21 Page 6 of 26




surprising, since Vancil was a civil officer involved in collecting debts, and the

FinCen database is accessible only to “[a] law enforcement agency investigating

terrorist activity or money laundering,” 31 C.F.R. 1010.520(b)).

      At Waites’s direction, and despite Guest’s declaration that this case was

solely a civil matter, Vancil stated on the form that the request was for purposes of

a “tax evasion” investigation. Id. But as noted above, even this arguably false

representation would not have been sufficient to obtain information from FinCen,

because the information in this highly confidential database is only available for

investigations of “terrorist activity or money laundering.” Thus, apparently

unbeknownst to Vancil, another OSI agent subsequently altered the form to say

that DOR was also investigating the Defendants for “money laundering.” Id. at

142; Gov’t Ex. 226. All of this occurred in the days after Guest declared that the

Chrisley investigation was solely a civil tax collection matter.

      Ultimately, Vancil’s and Waites’s joint witness interviews revealed that the

Defendants stored materials at unknown storage facilities, which Defendants were

planning on liquidating. Id. at 154-155. Vancil immediately began discussing the

matter with Waites via text message. Id. at 154-157; Def. Ex. 18. At one point,

Vancil discussed steps to try to identify the location of the facility, and Waites

responded, “Awesome, Me and some agents can go look!!” Def. Ex. 18.




                                           6
     Case 1:19-cr-00297-ELR-JSA Document 107 Filed 09/01/21 Page 7 of 26




      To begin the process of being able to seize and levy on any such materials, if

they could be found, Vancil prepared civil levies and jeopardy assessments, Def.

Ex. 24-25, which Waites personally took the initiative to drive to Tennessee to

serve on Defendants. Id.; Def. Ex. 21. Vancil explained that it was unusual for a

DOR OSI agent to serve such paperwork. Id. at 159-160. Nevertheless, Vancil

throughout this time seemed to readily accept and even reach out for the support of

Waites and OSI. In text messages apparently discussing the service of this

paperwork or related matters, Vancil texted Waites to say, “Don’t leave the

building without talking to me. We are hatching a plan,” to which Waites

responded, “I hope the plan includes me being in Nashville [where the Chrisley

Defendants resided] at 9:00 am cause I’m meeting a sergeant there at 9:00.” Def.

Ex. 18. When Waites reported to Vancil on the day of the incident in Nashville that

they only used “2 unmarked cars” to confront and serve the Chrisleys, Vancil

responded, “no lights? Disappointing.” Def. Ex. 18.

      Shortly thereafter, through a review of bank records, Vancil identified the

Warehouse as a location potentially housing the material referred to by the witness.

Tr. I at 96, 103-105, 207-208. She and other Compliance Division employees went

to the facility on March 27, 2017 with their levy, and Vancil reported the address

to Waites via text. Id.; Def. Ex. 18. Waites stated that he dispatched another OSI

agent. Def. Ex. 18 (“Brian is on the way”). At the outset, two OSI officers, not


                                          7
     Case 1:19-cr-00297-ELR-JSA Document 107 Filed 09/01/21 Page 8 of 26




initially including Waites, were present, ostensibly for “security.” Id. at 105-106,

172-173. Upon learning of the volume of materials potentially present at the

storage facility, however, Waites also arrived. Id. at 104-107. Waites with his

police lights flashing, but then told fellow DOR officers to lie, by “tell[ing] people

he had not been there.” Id. at 173.4

      The Defendants’ property stored at the Warehouse was behind locked gates

and mostly not visible from the outside of the facility. See Tr. at 27-38. It is

undisputed that the DOR possessed no warrant, and the Government does not

claim that DOR entered the facility based on consent or any other exception to the

warrant requirement, or any other legal basis. The Government’s witnesses,

including Vancil, offered very few details as to how the DOR gained access to the

inside of this locked facility.

      The property manager of the Warehouse provided more detail as to what

happened:

      They came into my warehouse with a piece of paper and said that they
      were there to seize the Chrisleys’ property, and I told them that they
      weren’t touching anything until I figured out what was going on. Just
      because you have a piece of paper, I wasn’t just going to take that and
      let them take everything. So I tried to get in touch with the Chrisleys,
      and at first I wasn’t able to get in touch with them. And the woman
      that first came in was, you know -- she said, we're not leaving here



4
 There is no indication that anyone lied about Waites presence, as he apparently
asked people to do.
                                           8
     Case 1:19-cr-00297-ELR-JSA Document 107 Filed 09/01/21 Page 9 of 26




      until we seize this property, and then another guy came in and started,
      basically, harassing me.

      Q. In what ways?

      A. Huh?

      Q. In what way or ways do you feel harassed?

      A. Well -- well, they told me they aren’t leaving my property until
      they took that stuff out and being very -- just aggressive. And when I
      told them that I was going to call the police because I felt like I was
      being attacked, he told me that he was the police and if I didn’t
      cooperate that he was going -- he was going to put me in handcuffs
      and take me to jail.

      Q. Do you have any idea who the identity of this person was?

      A. His name was Josh.

      Q. His name was what?

      A. His name was Josh.

Tr. at 36-38.

      Apparently based on these threats and the purported authority of some

“piece of paper” that was not a warrant, the DOR, including its chief criminal

investigator, “Josh [Waites],” who represented himself as “the police,” forced their

way into the facility and thereby accessed the substantial amount of property and

other materials stored by Defendants inside.

      Because they were unprepared to take custody of such a massive amount of

material, Vancil and her colleagues returned the following day with a private

moving company (Two Men and a Truck) to seize and haul off the contents. Id. at

                                         9
    Case 1:19-cr-00297-ELR-JSA Document 107 Filed 09/01/21 Page 10 of 26




106-110, 220-223. Most of the seized material consisted of furniture and other

personal property, but the DOR also seized approximately 20 boxes containing

documents and other materials, some of which ended up containing what was later

determined to be incriminating, forged bank records. See Tr. at 117, 163, 167. It

was unusual to seize the entirety of all materials found at a location, including

mere documents, for purposes of a civil tax collection levy. Id. at 174. There is no

indication that DOR obtained any warrant or obtained consent to re-enter the

facility on that following day to seize the contents.

      Sometime in the days or weeks after the seizure, Vancil discovered the

obviously-forged bank records as among the records that were obtained. Although

she had generally kept Waites updated and coordinated with him on various issues

throughout the investigation, she claimed that she made no efforts to engage OSI

about this clear evidence of fraud, because Guest had previously stated that this

matter would remain only a civil case. Tr. at 112, 206.

      For some time even prior to the Warehouse search, Vancil was also aware

that the IRS had filed a federal tax lien against the Chrisleys. Vancil had been in

touch with civil IRS officials back in February 2017 to negotiate a coordinated

collection effort. Tr. I at 90-93, Gov’t Ex. 101. Vancil also informed an IRS

Revenue Officer about the intent to seize and auction off materials from the storage

facility. Tr. 1 at 97, 157; Def Exs. 18, 21. After the Warehouse search, Vancil


                                          10
    Case 1:19-cr-00297-ELR-JSA Document 107 Filed 09/01/21 Page 11 of 26




notified her civil investigative counterparts at the U.S. Internal Revenue Service

about the developments, although she initially did not discuss the incriminating

bank records. Tr. II [93] at 80-81.

       These initial discussions with IRS were with civil collection officials. At

some point in late March 2017, shortly after the Warehouse seizure, Vancil also

received a telephone call inquiring about the case from IRS Criminal Investigations

Special Agent Larry Arrow. Vancil testified that Arrow demanded “everything”

that the DOR had on the Defendants. Tr. I at 212. Arrow testified that he was

asked to investigate the matter from his supervisor, and that his office had initially

learned about the potential matter from public news reports about the Defendants’

financial problems. Tr. I at 254; Tr. II at 6, 32-33, 36, 47. Arrow regularly

communicated and coordinated with counterpart agents within OSI, and received

case leads and other assistance from OSI, because of the large number of

overlapping cases and investigations that inherently involve the jurisdictions of

these related agencies. Tr. II at 6-7, 39-41, 53, 71-73. Indeed, the testimony shows

that IRS and OSI criminal investigators were jointly working several overlapping

investigations and cases together during this time. Arrow testified, however, that

he had not received any specific tips or leads from OSI about this case at least until

later in the investigation. Tr. II at 7, 33.




                                               11
    Case 1:19-cr-00297-ELR-JSA Document 107 Filed 09/01/21 Page 12 of 26




      In the March 2017 conversations between Arrow and Vancil and her

supervisors, DOR did not share any specific information learned in the

investigation including the existence of forged documents (which Vancil explained

she was not yet aware of at that time). Tr. I at 165.

      Arrow shortly thereafter opened a preliminary IRS criminal investigation

into the Defendants, which then was upgraded to a formal investigation after

receipt of a referral from an examiner in the civil section of the IRS in July 2017.

Tr. II at 16-17, 71. Eventually, in or about January 2018, Arrow, along with

representatives of the FBI and U.S. Attorney’s Office, met with DOR officials,

including Waites, and learned about the Warehouse search and the materials

seized, including the forged bank records. Tr. II 19-27, 47. The federal agents then

sought and obtained search warrants, from another U.S. Magistrate Judge, allowing

them to seize these materials from DOR’s possession. Tr. I at 65-69, Tr. II at 21-

25. The federal agents had evidently been told by DOR prior to obtaining these

warrants about the incriminating contents of the seized financial records, as Agent

Arrow’s affidavit applying for the warrants described the forged bank records that

he expected to find. See [36-4] at pages 24-26.




                                          12
    Case 1:19-cr-00297-ELR-JSA Document 107 Filed 09/01/21 Page 13 of 26




      A. DISCUSSION

          1. Legal Standards

      A warrantless entry by government officers into a home, or other premises in

which an individual has a protected Fourth Amendment privacy interest, is

presumptively unreasonable. See United States v. Tovar-Rico, 61 F.3d 1529, 1534

(1995). The Supreme Court has long held that even where Government officers

have the legal right to seize and levy on a person’s property, for debt collection or

repossession purposes, the officers must separately obtain a warrant to enter

protected premises for purposes of doing so. See G.M. Leasing v. United States,

429 U.S. 338, 355, 97 S. Ct. 619, 630 (1977); Retirement Care Associates, Inc. v.

United States, 3 F. Supp. 2d 1434, 1443 (N.D. Ga. 1998) (“Where IRS agents enter

private premises to find and levy upon property of a taxpayer, that entry must be

pursuant to a valid warrant.”). The Government here concedes that Defendants

possessed a protected Fourth Amendment privacy interest in the Warehouse, and

that the DOR violated Defendant’s Fourth Amendment rights by forcing its way

into the Warehouse without a warrant, even if just to seize property for collections.

      What the Government contests, rather, is the remedy demanded by the

Defendants for this illegal seizure of evidence, that is, suppression of the evidence

at trial. Suppression is the usual remedy for a Fourth Amendment violation. See

Mapp v. Ohio, 367 4 U.S. 643, 645 (1961). Nevertheless, “that a Fourth


                                          13
    Case 1:19-cr-00297-ELR-JSA Document 107 Filed 09/01/21 Page 14 of 26




Amendment violation occurred … does not necessarily mean that the exclusionary

rule applies.” Herring v. United States, 555 U.S. 135, 140-141 (2009).

      Among other things, courts look to the extent of official misconduct,

because “‘the deterrent value of the exclusionary rule is most likely to be effective’

when ‘official conduct was flagrantly abusive of Fourth Amendment rights.’” Id. at

143 (quoting Brown v. Illinois, 422 U.S. 590, 610-611 (1975)). The courts also

assess the proximity or remoteness between the “offending officer’s zone of

primary interest” and the subsequent use of that evidence that the defendant seeks

to suppress. United States v. Janis, 428 U.S. 433, 458 (1976). Most fundamentally,

the “benefits of deterrence” by applying the exclusionary rule in a given scenario,

in terms of preventing future violations, must outweigh the societal costs, that is

“the rule’s costly toll upon truth-seeking and law enforcement objections ….”

United States v. Leon, 468 U.S. 897, 908 (1984); Herring, 555 U.S. at 141.

         2. Application Of The Relevant Factors

      The Court has already noted that it finds no culpability at the hands of any

members of the federal prosecution or investigative team. This is important.

Nevertheless, the Government may still bear the cross of the DOR’s prior illegal

actions. Where a state law enforcement agency obtains evidence in violation of an

individual’s constitutional rights, the exclusionary rule cannot be avoided by

simply providing that evidence to counterpart federal authorities. See Elkins v.


                                          14
    Case 1:19-cr-00297-ELR-JSA Document 107 Filed 09/01/21 Page 15 of 26




United States, 364 U.S. 206 (1960) (exclusionary rule generally applies where

illegally-obtained evidence provided, as if on a “silver platter,” from offending

state agency to innocent federal agency); Preston v. United States, 376 U.S. 364,

366 (1964) (“The question whether evidence obtained by state officers and used

against a defendant in a federal trial was obtained by unreasonable search and

seizure is to be judged as if the search and seizure had been made by federal

officers.”)

      Thus, the Court must focus on whether the DOR’s actions should trigger the

exclusionary rule. In other words, the Court looks to whether the prospect of

suppression here would deter DOR (or a similar agency) from committing, and/or

prompt it to take better care to prevent, future constitutional violations of this sort.

      As noted above, the Herring factors start with assessing the extent of the

misconduct. That factor weighs strongly in favor of suppression. That state officers

cannot just force their way into locked premises to seize property—with no

warrant—is not a close call. Whether for purposes of civil or criminal enforcement,

or both, the actions of DOR here were clearly in violation of Defendants’ Fourth

Amendment rights. Even without any further aggravating evidence as to the

circumstances of the search, this clear intrusion weighs strongly in favor of

applying the exclusionary rule.




                                           15
    Case 1:19-cr-00297-ELR-JSA Document 107 Filed 09/01/21 Page 16 of 26




      There is additional aggravating evidence in the record, however. According

to the Warehouse property manager, the investigators waved some “piece of

paper” in front of her in a false claim of lawful authority, asserted that they “would

not leave” without taking Defendants’ property, and even went so far as to threaten

to arrest her if she did not cooperate. The Government, which generally bears the

burden of proof to show the reasonableness of warrantless police conduct, does not

specifically contradict these assertions or offer a substantially different version of

events. The uncontradicted facts in the current record therefore suggests that these

officials forced entry into protected premises through threats and bogus claims of

authority. This would easily show the sort of willful, reckless, or at least grossly

negligent conduct for which the exclusionary rule is most effective to deter.

      Whether the Government’s current use of this evidence in this criminal case

is within the offending DOR officers’ “primary zone of interest” is a more

factually complicated question. The Government asserts that the decision to enter

the Warehouse without a warrant was made by Vancil and other civil employees,

who were not generally responsible for or interested in preserving evidence for use

in a criminal case. More specifically, according to the Government, Guest had

previously declared, and Vancil believed, that this investigation was to be

exclusively civil. The Government thus argues that Vancil and other civil officials




                                           16
    Case 1:19-cr-00297-ELR-JSA Document 107 Filed 09/01/21 Page 17 of 26




did not or could not have even foreseen the use of this evidence in this future,

related criminal case.

      The analysis centers on whether “the particular challenged use of the

evidence is one that the seizing officials were likely to have had an interest in at

the time.” Tirado v. C.I.R., 689 F.2d 307, 311 (2nd Cir. 1982). The Court cannot

accept the Government’s position that the DOR investigators involved in the

Warehouse search would not have sufficiently cared about the potential use of

evidence in a later related criminal tax or fraud proceeding brought by DOR or a

similar agency. The Court instead finds that the use of the evidence in this case

was sufficiently within the DOR’s “zone of interest”—and that of its civil

enforcement personnel specifically—such as to support application of the

exclusionary rule. Several considerations lead to the Court’s findings in this regard.

      First, that this is a federal case handled by the IRS does not take it out of the

DOR’s zone of interest. The DOR and IRS are cousin agencies with overlapping

missions, and the testimony in this case confirms that they routinely (and

appropriately) cooperate and share information in pursuing similar charges and

remedies and common subjects. The DOR would not likely be indifferent to its

employees committing constitutional violations that would limit its ability to

cooperate with its regular partners, such as the IRS.




                                          17
    Case 1:19-cr-00297-ELR-JSA Document 107 Filed 09/01/21 Page 18 of 26




      Second, more specifically, the DOR itself includes both civil and criminal

investigative responsibilities under its own roof. It is hardly unforeseeable to the

civil side of the DOR “house” that the fruits of its investigations into unpaid taxes

and attempts to hide and liquidate assets might end up being used in a future

criminal tax evasion or other related criminal cases. And it would be well within

the zone of interest of any reasonable and competent DOR investigator—civil or

criminal—to ensure that the most egregious tax violations be subject to potential

criminal penalties. Anything else would flout the DOR’s overall interest in

collecting taxes, enforcing tax laws and punishing and deterring violations.

      Nor does the Court accept that DOR failed to foresee the possibility of this

related criminal case. Vancil and other civil officers may have undertaken the

operation for the immediate purposes of the civil case. But the Court does not

credit the claim—based on Guest’s statement in February 2017 that the case would

be “a civil matter”—that a final, irrevocable decision had been made foreclosing

any possible criminal involvement. After all, the DOR had already received

evidence that the suspects had failed to report over a million dollars of income,

were deliberating planning to liquidate assets, and had claimed bankruptcy despite

enjoying substantial income. Given the somewhat fine line separating civil and

criminal intent, a competent agency necessarily could not have made a final

decision as to whether this case warranted criminal action until more facts were


                                          18
    Case 1:19-cr-00297-ELR-JSA Document 107 Filed 09/01/21 Page 19 of 26




known, including the results of the search. Guest’s February 2017 comments

therefore must have simply reflected, and would have been understood by

reasonable and competent officials as, just a current assessment of the case based

on the facts known at that time. For all these reasons, the prospect of a potential

criminal case was still foreseeable to, and would have been important to the

interests of, DOR at the time of the Warehouse search.

      Moreover, and perhaps most importantly on the facts here, it is simply not

true that this matter was a purely civil case within the DOR. Waites and other

criminal investigators exerted heavy influence over and interest in this case,

opened an actual criminal investigation despite whatever Guest otherwise stated,

jointly interviewed witnesses, used criminal investigative tools to benefit the

investigation, and directly participated in the constitutional violation itself.

      Notably, it was Waites who directed Vancil to begin an inquiry in the first

place, and then to reopen that inquiry when the Defendants’ bankruptcy case

terminated. Vancil acknowledged feeling like Waites’s “puppet” throughout this

saga. Indeed, despite being on the civil side of the DOR, Vancil kept Waites and

other criminal agents informed of the investigation, let Waites feed her questions to

witnesses, and followed the directions of Waites and/or other OSI agents to fill out

a “FinCen” financial crimes investigation form representing (arguably falsely) that

the inquiry involved “tax evasion.” While Vancil claimed that she believed that the


                                           19
    Case 1:19-cr-00297-ELR-JSA Document 107 Filed 09/01/21 Page 20 of 26




case would proceed exclusively as a civil collection matter, she herself (Vancil)

filled out the FinCen forms just three days after Guest supposedly made that

declaration, stating that the case was a tax evasion investigation.

      Waites and/or other OSI criminal agents also personally (and unusually)

served the levy paperwork that was the supposed basis for the seizures and were

present at the Warehouse search. Their presence was ostensibly for security, but

according to the property manager, Waites overtly claimed that he “was the

police,” and threatened her with arrest if she did not cooperate in allowing DOR

into the facility. An unnamed female DOR official who appeared to be in charge

(seemingly likely to have been Vancil) similarly threatened that “we aren’t going

anywhere” without Defendants’ property. Waites even went so far as to ask other

DOR officials to lie about whether he was even present there, seemingly

understanding that his role and actions during the search were not appropriate.

      These facts, at a minimum, show a blurring of the ostensible line between

the criminal and civil side of the DOR house in this case. The Court does not

question that there was a genuine civil investigation, with goals to enforce the civil

remedies available to DOR. But this civil investigation was at least partially run by

a law enforcement agent as puppet master, who had opened his own criminal

investigative file, and likely hoped to one day bring formal criminal charges as

well. And the Court cannot find that relevant civil personnel were entirely free


                                          20
    Case 1:19-cr-00297-ELR-JSA Document 107 Filed 09/01/21 Page 21 of 26




from suspecting that they were being used to further the interests and aspirations of

criminal investigators. Indeed, it clearly benefited the purposes of the civil

investigation to join hands with OSI, interview witnesses together, use criminal

investigative tools together, and gain entry into protected premises together

through threats of arrest. Indeed, while Vancil expressed frustration in her

testimony as to Waites’s unusual interest in the case, the contemporaneous

correspondence shows that it was Vancil who reached out to Waites about wanting

to “hatch a plan” regarding the potential search and/or service of the paperwork,

and who expressed disappointment that Waites did not flash his police lights to

intimidate the Defendants.

      The Government proposes that the Court now disassociate the civil and

criminal sides of the DOR house that became so intermingled during the events of

2016-2017, and find that the civil personnel had no inkling as to or interest in

possible future criminal action. The Court simply cannot find on the Government’s

favor on this record.

      Of course, there is nothing inherently wrong with civil investigators

cooperating and coordinating with their criminal counterparts, either within the

same agency or others. The public interest can be greatly furthered by such

cooperation, which as a general matter is entirely appropriate and legal. The Court

does not suggest, in other words, that civil and criminal investigators within DOR


                                          21
    Case 1:19-cr-00297-ELR-JSA Document 107 Filed 09/01/21 Page 22 of 26




or other agencies cannot work together, coordinate, and even take steps such as to

jointly interview witnesses. The instant motions do not challenge, and this Report

and Recommendation does not criticize, the propriety of such parallel

investigations generally, or even of this one specifically.

      The narrower question presented here is simply whether the exclusionary

rule would be an effective deterrent to unconstitutional governmental action on the

facts of this case. The answer is clearly yes. The exclusionary rule is plainly more

likely to deter officers, even ones with exclusively civil roles, who are engaged in

overlapping, cooperative inquiries with criminal colleagues. When civil and

criminal investigators work so closely to further their complementary missions, in

other words, it becomes harder for the civil side to later claim they had no interest

in what the criminal side was working on. At a minimum, the dual-purpose agency

for whom both civil and criminal sides work would have every incentive to engage

in better training and supervision to prevent evidentiary suppression in a case such

as this, which directly impacts a case within its clear zone of interest.

      The facts here are very different from those cases primarily relied upon by

the Government. Herring, for example, concerned a search-incident-to-arrest by a

particular police department, based on another department’s pending warrant,

notwithstanding that (without any knowledge on the part of the arresting

department), the warrant was supposed to have been withdrawn. 555 U.S. at 137-


                                           22
    Case 1:19-cr-00297-ELR-JSA Document 107 Filed 09/01/21 Page 23 of 26




138. The Court found this problem to be akin to a mere recordkeeping or clerical

error, and that such ordinary negligence would not likely be deterred by application

of the exclusionary rule. Id. at 136. The case here is not a mere clerical error, but

rather a deliberate trespass into Fourth Amendment protected premises. The

exclusionary rule would clearly be more effective in a case, such as this, where

officers knew or clearly should have known as to the illegal nature of the entry.

      In Janis, 428 U.S. at 458, the issue was whether evidence originally obtained

by local officers in a state criminal gambling investigation, which had already been

suppressed in multiple criminal cases, should also be suppressed in a later civil

federal tax case. The Supreme Court answered that question in the negative, noting

that suppression in an unrelated federal civil case well outside of the subject matter

investigated by the offending local police officers would not have mattered to

those officers, at least not above and beyond the far more consequential sanction of

suppression in the criminal cases. Apart from the superficial similarity of a case

also involving the IRS, Janis is obviously distinguishable. The suppression of

evidence in a criminal tax case would have been far more important to the DOR

investigators than the prospect of future civil tax collection problems would have

been to a local sheriff investigating gambling.

      Also distinguishable is United States v. Medina, 181 F.3d 1078 (9th Cir.

1999). In that case, a local airport security officer seized a firearm from


                                          23
    Case 1:19-cr-00297-ELR-JSA Document 107 Filed 09/01/21 Page 24 of 26




Defendant’s luggage, and a local police officer seized another firearm pursuant to a

traffic stop. When those firearms were later connected to an unrelated federal bank

robbery case several months later, the Defendant moved to suppress in that later

case, arguing that the original searches and searches were illegal. The Ninth Circuit

affirmed denial of the motion without a hearing, because regardless of any original

illegality, there were no alleged facts suggesting that the officers undertaking those

searches had any connection to or knowledge of or interest in any unrelated, later

federal bank robbery case. Id. Similarly, United States v. Bates, No. 16-20044,

2016 WL 11479286, at *2 (W.D. Tenn. June 28, 2016) concerned whether

property initially obtained by county sheriffs in executing a levy for property based

on a private civil judgment, including firearms, should be suppressed in a

subsequent unrelated federal prosecution. The Court declined to recommend

application of the exclusionary rule in that case, reasoning that the county sheriffs

clearly had no subsequent federal firearms prosecution in mind, or within any

possible zone of interest, as of when they entered the premise.

      By contrast to those cases, there is a clear connection here between the

intermingled civil and criminal sides of the DOR operation as it related to this

investigation, as well as between the DOR and its federal counterpart with

overlapping tax prosecution interests, the IRS. The DOR investigators involved in

this case – civil and criminal – would have been sufficiently interested in the


                                          24
    Case 1:19-cr-00297-ELR-JSA Document 107 Filed 09/01/21 Page 25 of 26




potential use of the evidence in subsequent interrelated criminal tax and financial

cases to be deterred by suppression. This differs from the factual scenario in

Medina, Bates and other cases relied on by the Government. A somewhat closer

factual fit is the district court’s opinion in United States v. Cordero-Rosario, 252 F.

Supp. 3d 79, 92 (D.P.R. 2017). In that case, the Court applied the exclusionary rule

in a subsequent federal prosecution based on violations that occurred in a prior

state investigation, because the state investigators clearly were not disinterested in

the “not so independent” coordinated and related federal investigation. Id. Similar

principles support suppression here.

      The Court acknowledges that the federal investigators obtained a formal

warrant to allow them to take the material that was in DOR’s possession. But the

fact that the FBI or IRS obtained an after-the-fact warrant does not resolve or cure

the original Fourth Amendment violation that led to the material being in DOR

custody in the first place. Indeed, the federal warrant application itself expressly

references what DOR told the agents about the contents of the seized material, that

is, forged bank records. In other words, IRS only knew what these documents

showed because DOR illegally seized them from private premises in the first place,

and then told IRS what those documents contained. On these facts, the federal

warrant was hardly independent of the illegality and its issuance simply has no




                                          25
    Case 1:19-cr-00297-ELR-JSA Document 107 Filed 09/01/21 Page 26 of 26




impact on the deterrence analysis.5 To the contrary, excusing suppression based on

this after-the-fact warrant, that was itself obtained based on the illegally seized

information, would if anything eviscerate the deterrent impact of the exclusionary

rule. This result would simply re-instate a “silver platter” loophole. See Elkins, 364

U.S. at 206.

        III.   CONCLUSION

        In the end, the Court has carefully considered the evidence and arguments on

this fact-intensive issue and finds that the exclusionary rule should apply in this

case.

        Thus, the Court RECOMMENDS that the Defendants’ Motions to Suppress

related to the Warehouse search, that is, Motions Nos. [36][41], be GRANTED.

        IT IS SO RECOMMENDED this 30th day of August, 2021.




                                    JUSTIN S. ANAND
                                    UNITED STATES MAGISTRATE JUDGE




5
 Indeed, the Government does not assert an independent source argument, that is,
that the IRS or FBI were aware of the existence of these documents and the
probable cause basis for seizing them independently of the information learned
from DOR, including the information provided as to the contents of the forged
bank records.
                                           26
